Case 2:19-bk-51311        Doc 19   Filed 05/14/19 Entered 05/15/19 11:00:47          Desc Main
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This document has been electronically entered in the records of the United
States Bankruptcy Court for the Southern District of Ohio.


IT IS SO ORDERED.



Dated: May 14, 2019



________________________________________________________________

4811-1368-8321
                          UNITED STATES BANKRUPTCY COURT
                             SOUTHERN DISTRICT OF OHIO
                                  EASTERN DIVISION

In Re:                                          :
                                                :       Case No.: 19-51311
         Percy J. Cornelious                    :       Chapter: 7
                                                :       Judge: C. Kathryn Preston
                     Debtor.                    :

                 ORDER GRANTING APPLICATION TO EMPLOY COUNSEL
                                  [Docket No. 17]

         This matter is before the Court on the Application to Employ Larry J. McClatchey and
Kegler, Brown, Hill & Ritter Co., LPA as Counsel filed with this Court and served on parties in
interest. Upon due consideration of the same, it is hereby

         ORDERED, that the employment of Larry J. McClatchey and Kegler, Brown, Hill &
Ritter Co., LPA is in the best interest of the bankruptcy estate, and the employment is approved
as of April 16, 2019, the date of the original meeting of creditors under 11 U.S.C. §341. It is
further,

       ORDERED, that the terms of said employment are set forth in the Application filed with
the Court, and that compensation shall be subject to application and approval of this Court
pursuant to 11 U.S.C. §330.

         IT IS SO ORDERED.


Copies to Default List
